
By the Court.
In May, 1875, C. recovered a judgment against L., who then owned four parcels of land. Pending proceedings to reverse this judgment, L. mortgaged one parcel to P., and afterwards conveyed the other parcels to other grantees. 'A national bank became the owner of the mortgaged note. The sum due on the note exceeded the value of the mortgaged premises, and L. being insolvent, the bank, to save expense of foreclosure, accepted a deed for the land in payment of the mortgage debt. C.’s judgment was affirmed, and an action to settle priorities was properly brought.
Held: The bank’s interest in the land was properly-dated from- the entry for record of the mortgage to P.

Judgment affirmed.

